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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

IN RE:                                               )
                                                     )       Case No. 23-14859-MER
SHILO SANDERS                                        )
                                                     )       Chapter 7
                                                     )
Debtor.                                              )

   JOINT STATUS REPORT REGARDING TRUSTEE’S MOTION TO COMPEL
 COOPERATION OF THE DEBTOR AND FOR TURNOVER OF PROPERTY OF THE
                            ESTATE

         The Debtor, Shilo Sanders (“Debtor”), and the Chapter 7 Trustee, David Wadsworth
(“Trustee”), by and through their undersigned attorneys, provide this Joint Status Report regarding
the Trustee’s Motion to Compel Cooperation of the Debtor and for Turnover of Property of the
Estate (“Turnover Motion”) as follows:
         1.    The Debtor filed his Voluntary Petition pursuant to Chapter 7 of the Bankruptcy
Code on October 23, 2023 (“Petition Date”).
         2.    David Wadsworth was appointed as the Chapter 7 Trustee (“Trustee”).
         3.    The Debtor has attended his meeting of creditors and is cooperating in all respects
with the Chapter 7 Trustee, including turning over non-exempt property, providing extensive
documents, and is working to coordinate an inspection of personal property.
         4.    On February 26, 2024, the Trustee filed the Turnover Motion, seeking to compel
the Debtor to conduct a property inspection and turnover certain documents. The Debtor timely
sought an extension of the time in which he was required to respond to the Motion, and such
extension was granted through and including May 1, 2024.
         5.    Since the filing of the Turnover Motion, the Debtor has continued to cooperate with
the Trustee. A property inspection was conducted on March 9, 2024, and the Trustee has received
a full report detailing the Debtor’s assets. The Debtor has also provided a Dropbox with extensive
documents requested by the Trustee, including bank statements, information on the Debtor’s
business and business operations, and documents related to the vehicles discussed at the Debtor’s
Section 341 Meeting of Creditors.
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       6.      The Trustee is continuing to review documents to determine if any additional
documents are needed for the Trustee’s administration of the estate. The Debtor and the Trustee
will continue to discuss any additional outstanding issues and documents requested by the Trustee.
       7.      While the Motion remains pending, the Debtor is continuing to provide documents
to the Trustee at the Trustee’s request, and will continue to do so as the Trustee completes the
administration of the estate.
DATED: June 27, 2024                            Respectfully submitted,


                                                By:___/s/ Keri L. Riley
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                                                   /s/ Simon E. Rodriguez
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                                                   Attorney for the Trustee
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                               CERTIFICATE OF SERVICE

        I certify that on June 27, 2024, I served a complete copy of the foregoing JOINT STATUS
REPORT REGARDING TRUSTEE’S MOTION TO COMPEL COOPERATION OF THE
DEBTOR AND FOR TURNOVER OF PROPERTY OF THE ESTATE on the following
parties in compliance with the Federal Rules of Bankruptcy Procedure and the Court’s Local
Rules:


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                                           /s/Vicky Martina
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